Case 2:19-cv-06190 Document 1-1 Filed 07/18/19 Page 1 of 30 Page ID #:6

                                                                      Service of Process
                                                                      Transmittal
                                                                      06/18/2019
                                                                      CT Log Number 535702268
TO:     Rebecca Thompson
        UnitedHealth Group Incorporated (111504190770700600)
        9900 Bren Rd E Ste 300W, MN008-T502
        Minnetonka, MN 55343-9693

RE:     Process Served in California

FOR:    UnitedHealth Military & Veterans Services, LLC (Domestic State: DE)




ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                  THE REGENTS OF THE UNIVERSITY OF CALIFORNIA, etc., on behalf of its UCLA Health
                                  System, Pltf. vs. UnitedHealth Military & Veterans Services, LLC, et al., Dfts.
                                  Name discrepancy noted.
DOCUMENT(S) SERVED:               Summons, Cover Sheet, Instructions, Complaint, Notice
COURT/AGENCY:                     Los Angeles County - Superior Court, CA
                                  Case # 19SMCV00976
NATURE OF ACTION:                 Insurance Litigation
ON WHOM PROCESS WAS SERVED:       C T Corporation System, Los Angeles, CA
DATE AND HOUR OF SERVICE:         By Process Server on 06/18/2019 at 12:44
JURISDICTION SERVED :             California
APPEARANCE OR ANSWER DUE:         Within 30 days after service
ATTORNEY(S) / SENDER(S):          JIN HEE PARK
                                  LAW OFFICES OF STEPHENSON, ACQUISTO & COLMAN, INC.
                                  303 N. Glenoaks Blvd., Suite 700
                                  Burbank, CA 91502
                                  818-559-4477
ACTION ITEMS:                     CT has retained the current log, Retain Date: 06/19/2019, Expected Purge Date:
                                  07/19/2019

                                  Image SOP

                                  Email Notification, Administrative Assistant legalmail@uhg.com

SIGNED:                           C T Corporation System
ADDRESS:                          818 West Seventh Street
                                  Los Angeles, CA 90017
TELEPHONE:                        213-337-4615




                                                                      Page 1 of 1 / HM
                                                                      Information displayed on this transmittal is for CT
                                                                      Corporation's record keeping purposes only and is provided to
                                                                      the recipient for quick reference. This information does not
                                                                      constitute a legal opinion as to the nature of action, the
                                                                      amount of damages, the answer date, or any information
                                                                      contained in the documents themselves. Recipient is
                                                                      responsible for interpreting said documents and for taking
                                                                      appropriate action. Signatures on certified mail receipts
                                                                      confirm receipt of package only, not contents.


                                               Exhibit A - 4
                     Case 2:19-cv-06190 Document 1-1 Filed 07/18/19 Page 2 of 30 Page ID #:7                                           60Vii
Electronically FILED by Superior Court of California, County of Los Angeles on O512O9V,     1    herri R. Carter, Executive OfficerlClerk of Court. by M. Marlscai.Depuly, Clerk

                                             SUMMONS                                                             ______________


                    (CITA CION JUDICIAL)                                                                                          FOR COURT USE ONLY
                                                                                                                              (SOLO PARA 050 DE LA CORYE
 NOTICE TO DEFENDANT: UNITEDHEALTHCARE MILITARY &
 (AWSOALDEMANDADO):VETERANS SERVICES, LLC and DOES                                                         1
  THROUGH 25, INCLUSIVE




  YOU ARE BEING SUED BY PLAINTIFF: THE REGENTS OF THE
 (LO ESTA DEMANDANDO EL DEMANDANTE): UNIVERSITY OF
  CALIFORNIA, a California constitutional corporation,
  on behalf of its UCLA Health System

   NOTiCEl You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the Information
   below.
       You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
   served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
   case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
   Online Self-Help Center (www.courlinfo.ca.gov/solmoip). your county law library, or the courthouse nearest you. It you cannot pay the filing fee, ask
   the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
   may be taken without further warning from the court.
       There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
  referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
   these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifomia.org ), the California Courts Online Self-Help Center
  (www.coudinfo.cagov/sellhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
   costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
    A VISOl to hen domandado. Si no respondo denim do 30 dies, Ia code puode decidir on so contra sin escuchar su version. Lee Is infomiacion a
  continuaclon
     flono 30 DIAS DE CALENDARIO dospues do quo Is enfreguon oslO cifación y papeles iegeles pare presenter una respuesta par escMto on 05(8
  torte y hater quo as ontmguo one copia at dornandante. line coda 0 una liarnada tote fOnica no to protegen. Su respuesta par oscrito hone quo ester
  an forniato legal conecto si doses quo procesori so caso on Is code. Es posibie quo hays un fomtulado quo ustod puoda user pare su respuesta.
  Puede encontrar ostos fomiularios do Is code y ritas information on at Centro do Ayuda do las Codes do California (www.sucorte.ca.gov), on Is
  biblioteca do byes de But condado o on Is code quo to quode més cotta. SI no puodo pager ía cuota do presentatiOn, pida at secrvfario do Is code
  quo to dO on forn,ulario do exoncion do page do cuotas. Si no presents su respuesta a tiempo, puedo pordor at caso pot incumptimiento y Is code to
  podra quitar so sueldo, dinorr y Nones sin mOs advertoncia.
    Hay ohms requisites ie?ates. Es mcomendabfe quo flame a un abogado inmediataonto.      m     Si no conoco a un abogado, puSs blamer a un serviclo do
  ,vrnisiOn a abogados. Ss no puedo pager a un abogedo, as posiblo qua cumpba con los requisites pare obtenor sorvicios legatos gratuitos do un
 programs do servicios iegaies sin fines do lucre. Puode oncontrar estos gnipos sin lines do lucm an at sitio web do California Legal Services,
  frww.tawtielpcalifomia.org), on el Contra do Ayuda do las Codes do California, (nnv.succrto.ca.gov) a poniOndoso on contacto con Ia torte o at
  colegio do ebogados locales. A VISO: Per toy, Is coda (lone derecho a reclamer las cuotas ylos costos oxen los pot imponor un gravamen solve
  cuaiquior recuperation do $10,000 6 mOs do valor rocibida modiante on acuordo o una concesiOn do artitraje an un caso do derecho civiL Trans quo
 pager el gravamen do Is code antes do quo Ia torte pueda desochar at caso.
                                                                                                           CASE NUMBER:
(El nombre y direction do Is code as):                                                                     (WOmen del Case):
 LOS ANGELES SUPERIOR COURT
1725 Main Street
Santa Monica, CA 90401
The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is:
(El nombre, Is direction yet nUmero do tale tone del abogado dot domandante, o del demandanto quo no tiene abogado, Os):
Jin Hee Park, Esq./S.B.N. 309941                   818-559-4477                                                                           818-559-5484
Law Offices of Stephenson, Acquisto & Colman, Inc.
303 N. Glenoaks Blvd., Suite 700
                                                                       Sherri R. Carter Executive Officer s Cle rk ofCourt
Burbank, CA 91502
DATE:
                  05/2912019
                                                                    Clerk , by                        Mareos Mariscal                                    _   Deputy
(Focha)                                                             tVnrmlnfinl
     roor or service or rrvs summons, use Proof of Service of Summons (form P05-010).)
     pruoba do entrega de osta citation use oi form utario Proof of Service of Summons, (P05-010)).
                                        ----------------------------------
                                   I     I I flC rcnoun atnvcu;              are    v d   You    ser   e


                                I.       as an individual defendant.
                                           EJ      as the person sued under the fictitious name of (sp6ch54:

                                            EKI on behalf of (specify):        1411 h-( Lh                     / ft rn re_*AA
                                            under.     CCP 416.10 (corporation)                  CCP 416.60 (minor)                                                                LL..C.
                                                       CCP 416.20 (defunct corporation)      = CCP 416.70 (conservatee)
                                                  423-CCP 416.40 (association or partnership) = CCP 416.90 (authorized person)
                                                      C
                                                      other (specify):
                                           = by personal delivery on (date):                                              Panel at
  Dm1 Adopted for Mandatory Use
   Judidal coundi or California                                            SUMMONS                                                     Coda of CiAl Ptoced,fl §§ 41220.465
  suM-lao jflev. July I. 20091


                                                                                 Exhibit A - 5
                      Case 2:19-cv-06190 Document 1-1 Filed 07/18/19 Page 3 of 30 Page ID #:8
                                                                                    19SMCV00976
Ete6tzoqlcaily FILED by Superior Court of California. County of Los Mgaios on 05/29/2019 02:36 PM Sherri R. Carter, Executive Officer/Cleric of Court. by M. Madscal,Deputy, Cleric




          - ATTORICY OR PMTV WITMOIJI ATTORNEY IN.. VA?. ean.umtç and           ,nj.                                                     FOR COURT USE   ONlY
          Thlin Kee Park, Esq./S.B.N. 309941
           Law Offices of Stephenson, Acquisto & Colman, Inc
           303 N. Glenoaks Blvd., Suite 700

            Burbank, CA 91502
                   TCLEPHO'&IC:     818-559-4477                   FMPC:       818-559-5484
            AlTO     YFORRJnJ       Plaintiff
            SUPERIOR C0URTOPGAUPOftWl& COUNTY OF LOS                   ANGELES
                srn€€nerss1725 Main Street
               MAniC *0E56:
               QTYMCZIPcO:Saflta Monica, CA 90401
                      wci.wjtWest District
            CASE NAME:       THE REGENTS OF THE UNIVERSITY OF CALIFORNIA VS.
            UNITED    EP.LTliCARE .MiLIThRY & VETERANS SERVICES. LLC                                                        ___________________________


                                                              Complex Case Designation                      CASE NUA&E
              CIVIL CASE COVER SHEET
                Unlimited       [—,   Limited            I          Counter         L_J   Joinder
                (Amount                                   Filed with first appearance by defendant         JUDGE:
                demand                     anded               (Cal.  Rules    of Court, rule 3.402)        DEn
                exceeds $2500O1 $25000 or less)
                                                             must
             Check one box below for the case type that best describes this case:
             Auto Tort                                    Contract                                    Provisionally Complex Civil Litigation
                                                                                                      (Cal. Rules at Court, rules 3.400-3.403)
              rjAuto n                                      xi Breach ofcontracvwarranty(06)
                                                                                                            Mtit,uattTrode regulation (03)
              C.J UNnsured motorist (46)                  [       Rule  3.140 ca(tectlons (09)
                                                                                                            Construction defect (10)
             Other PI/PDmD (Personal lnjuiy/Propert)      LI     Other   collections (09)
             Damage/Wrongful Death) Tort                          lnsuranceCoverage (I8)                    Mass toil (40)
             1-   1 Asbestos (04)                                Other contract (37)                  L..J Securities litigation (28)
              C Product liability (24)                    Real Property                               Li ErMrorvnentaUTo4c tart (30)
                                        (45)              LI      Eminent   domairvinverso            C.  I insurance coverage deitns arising from the
              LJ   Medical  malpractice
                                                                  coMemnallon (14)                          above Dated provisionally complex case
                  jOther PI/PDMID (23)                             -    -

                                                          L.J    Wrongful scllw, (33)                       types (41)
             Non'PilPDiWD (Other) Tort
              (1     o...i..sh,ai,,nfakh,aln..ca rwarilr. _Jerrealptpely(26)                          Enforcement     of Judgment
             [T- CMI rIghts (08)                          Unlawful    Oetalnor                        E]     Ejiforcernerd of judgment (20)
                                                              .1 Commercial     (31)                  Miscellaneous Clvii Complaint
                   Defamation (13)
                   Fraud (IS)                                   I Residential (32)                    L.H RICO (21)
              CD Intellectual property (is)               HJ Drugs (38)                                   ! Other complaint (not specwedabove) (42)
             1jProfessional negligence (25)               Judicial   Review                           Miscellaneous     Civil Petition
              fli Other non-Pi/POIWO tail (35)                   Asset forfeiture (05)                      Partnership and corporate governance (21)
                                                                  Petition to: arbitration await (ii)     I Other petition (not specif/ed above) (43)
                                termination (38)                            Wril of mandate (02)
                                                                                                   --




          2. ThIs case     .TD is [jj is not complex under rule 3.400 of the California Rules of Court. If the case is complex, mart the
             raäàmrquiriiig exceptional judicial management
                   [LI Laigo.numberotseparately represented parties d. L.J Large number of witnesses
                   LU Extensive motion practice raising difficult or novel e. CT] Coordination with related actions pending In one or more courts
                    Issues that will be time-consuming to resolve             in other counties, states, or countries, or in a federal court
                      -

              a. CJ Substantial amount of documentary evidence        f. CITJ Substantial postjudgmenl judicial supervision
          3. Remedies sought (chedc all that apply): a. Lxi monetary b. [_J nonmonetary: declaratory or injunctive relief c. C punitive
          4. Number of causes of action (spec/')     1
         5. This case __ J Is [jJ Is not a class action suit.
         B. It there are any known related cases, file and serve a notice of related case.                                   form
         Date: 5/30/19                                                             1                      1U`7a!!t



           • Plaintiff must tile this cover sheet with the first paper riled In the action or proceeding (except small claims cases or cases filed
              under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to tile may rest
              In sanctions.
           • File this cover sheet In addition to any cover sheet required by local court rule.
           • If this case is complex under rule 3.400 at seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
              other parties to the action or proceeding.
           • Unless this is a collections case under rule 3.740 or a complex case, this covet sheet will be used for statistical purposes only.
                                                                       CIVIL CASE COVER SHEET, j.qi c                               co. 5tridwd. ci A,doal Aa'wtvtot ad 3.10
                                                                                                           ¼. .....,t,'.n




                                                                                       Exhibit A - 6
             Case 2:19-cv-06190 Document 1-1 Filed 07/18/19 Page 4 of 30 Page ID #:9




                                   INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET                                                         CM-010
   To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
   complete and file, along with your first paper, the Civil Case Cover Sheet contained on page I. This information will be used to compile
   statistics about the types and numbers of cases filed. You must complete items 1 through Son the sheet. in item I, you must check
   one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
  check the more specific one. It the case has multiple causes of action, check the box that best indicates the primary cause of action.
   To assist you in completing the sheet, examples of the cases that belong under each case type in Rem I are provided below. A cover
  sheet must be flied only with your Initial paper. Failure to file a cover sheet with the first paper filed in e civil case may subject a party, its
  counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
  To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery or money owed
  in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in which
  property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
  damages, (2) punitive damages. (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment wilt of attachment.
  The Identification of a case as a rule 3.740 collections case on this form means that It will be exempt from the general time-for-service
 requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections case will be subject
 to the requirements for service and obtaining a judgment In rule 3.740.
 To Parties In Complex Cases. in complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
 case Is complex if a plaintiff believes the case Is complex under rule 3.400 of the California Rules of Court, this must be indicated by
 completing the appropriate boxes in items I and 2. If a plaintiff designates a case as complex, the cover sheet must be sewed with the
 complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a binder in the
 plaintiffs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
 the case is complex.                                     CASE TYPES AND EXAMPLES
 Auto Tort                                        Contract                                           Provisionally complex Civil Litigation (Cal.
    Auto (22)—Personal 1r4uy/Ptoperty,              Breach of Contractrnarranty (08)                 Rules of Court Rules 3.400-3.403)
        DamagMMongtd Death                             Breath at Rentatitease                             Antitrust/Trade Regulation (03)
    Unfrsxed MotorIst (48) (if the                         Contract (riot unlawful detaftper              Construction Defect (10)
        case involves an uninsured                           or wrongful evktb,)                          Claims involving Mass Ton (40)
        motorist clam, subject to                      ContractWarranty, Breach—Seller
                                                          Plaintiff (net fraud ernegligence)              Seojrltles Litigation (28)
       esbRmln, check this item                                                                           EiwlronmentallToxlc Tort (30)
                                                       Negligent Breach or Contract/
       instead eMote)                                                                                     Insurance Coverage Claims
                                                           Warranty
Other PiIPDMD (Personal injury/                         Otter Breath of Contractrnarranly                   (arising from pmvfsionàily complex
Property Damage/Wrongful Death)                      Collections (e.g., money owed. open                    case type listed above) (41)
Tort                                                   book accounts) (09)
   Asbestos (04)                                                                                    Enforcement of Judgment
                                                        Collection Case—Seller Plaintiff
       Asbestos Property Damage                                                                          Enforcement of Judgment (20)
                                                        Otter Pronilsaoqr NotelCorectlons
       Asbestos Personal Injury/                               Case                                         Abstract of Judgment (Out of
           Wrongful Death                           Insurance Coverage (not pmvlsknaky                         Counm
   Product uabllily (not asbestos or                    complex) (IS)                                        Confession of Judgment (no"
       toxicIenvbvnmenter) (24)                         Auto Subrogation                                         domestic relations)
   Medical MalpractIce (45)                            Other Coverage                                        Sister State Judgment
       Medical Malpractice-                         Other Contract (37)                                      Administrative Agency Award
           Physicians S Surgeons                        Contractual Fraud                                        (not unpaid taxes)
       Other Professional Health Care                  Otter Contract Dispute                               PetillonlCemtlficatton of Entry of
           Malpractice                           Real Property                                                  Judgment on Unpaid Taxes
   Other PI/PDD (23)                               Eminent oomainllnvetse                                    Other Enforcement of Judgment
      Premises Uabtllty (e.g., slip                   Condemnation(14)                                          Case
           and fall)                                Wrongful Eviction (33)                          Miscellaneous Civil complaint
      Intentional Bodily Injury/Porno               Other Real Property (e.g., quiet title) (26)         RICO (27)
           (e.g., assault, vandalism)                  Writ of Possession of Real Property               Other Complaint (not specified
                                                       Mortgage Foreclosure                                  above) (42)
      Intentional Infliction of                        Quiet Title
           Emotional Distress                          Other Real Property (not eminent
                                                                                                             Declaratory Relief Only
      Negligent Infliction of                          domain, landlordrtenanl, or                           Injunctive Relief Only (non-
           Emotional Distress                           foreclosure)                                            harassment)
      Oilier piipomo                            Unlawful Detalner                                            Mechanics Lien
Non-Pt/Porno (Other) Tort                          Commercial (31)                                           Other Commercial Complaint
  Business Tort/unfair auslnass                    Residenllal (32)                                             Case (non-foivtion.comple4
       Practice (07)                              Drugs (38) (If the can lnveNn illegal
                                                                                                             Other ClvS Complaint
  Civil Rights (e.g.. discrimination,                                                                         (non-tot Ion-complex)
                                                      drugs, check this Item: otherwise,
      false arrest) (not CMI                          report as Commercial or ResIdentIal)         Miscellaneous Civil Petition
      hamssrnent) (08)                          Judicial Review                                          Partnership and Corporate
  Defamation (e.g., slander, libel)                Asset Forfeiture (05)                                    Governance (21)
      (13)                                         Petition Re: Arbitration Award (II)                   Other Petition (not specified
  Fraud (16)                                       Writ of Mandate (02)                                     above) (43)
  Intellectual Property (Is)                          Writ-Administrative Mandamus                          Clvii Harassment
  Professional Negligence (25)                        Writ-Mandamus oil Limited Court                       Workplace Violence
      Legal Malpractice                                  Case Mailer                                        Elder/Dependent Adult
      Other Professional Malpractice                  Writ-Other Limited Court Case                            Abuse
          (not med/cal o'legaQ                          Review                                              Election Contest
  Other Non-PtlPDMID Toil (36)                     Other Judicial Review (39)                               Petition for Name Change
                                                      Review of Health Officer Order                        Petition (or Relief from Late
  WrongM Termination (36)                             Notice of Appeal-Labor                                   Claim
  Other Employment (IS)                                 Commissioner Appeals                                Other Civil Petition




                                                                          Exhibit A - 7
                       Case 2:19-cv-06190 Document 1-1 Filed 07/18/19 Page 5 of 30 Page ID #:10
                                                                                    19SMCV00976
Elettonically PILED by Superior Court of California. County of Los Angeles on 05/29/2019 02:36 PM Shenrl R. Carter, Executive OfiicerlCiork of Court. by M. Maniscal,00PUIY Clerk



            I w1nmm THE REGENTS OF THE UNIVERSITY OF CALIFORN                                                    I CASE MJB!R
                                                              IA VS.                                                                                                         I
            IUNITEDHEALTHCARE MILITARY & VETERANS SERVICES. LLC
                                                                                                               I         I GSM 0V00976                                       I
                                          CIVIL CASE COVER SHEET ADDENDUM AND
                                                  STATEMENT OF LOCATION
                           (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCAT
                                                                                      ION)
                          This tonn Is required pursuant to Local Rule 2.3 In all new civil case filings In the Los Angeles
                                                                                                                                             Superior Court,



                 Step 1: After completing the Civil Case Cover Sheet (Judicial Council form CM-010), find the exact case type
                                                                                                                                                                In
                              Column A that corresponds to the case type indicated in the Civil Case Cover
                                                                                                                                 Sheet.

                 Step 2: In Column B, check the box for the type of action that best describes the nature of the case.

                 Step 3: In Column C, circle the number which explains the reason for the court filing location you have
                             chosen.

                                    I                Applicable Reasons for Choosing Court Filing Location (Column C)

             aess adlons must be Ills in the Stanley Mask Courthouse, Central tlsTh.               Location wtiere petitioner relides.
             Permissive filing In centyw district.                                                 LocatIon %tiorefrt defendantftespondeflt ka,ctions wholly.
             Location v.tisre cause election arose.                                                Location ,There one or more Of the pates reside.
             Mandatory personal Injury tiling in North Obtñd                                      Location of Labor Canrnbslonerofflce.
            LocatIon where performance required or defendant resides.                             Mandatory filing location (Hub cases -unlawful detainer, limits
                                                                                               non-collection, limited collection, or personal Injury).
            Location of property or permanently garaged vehicle.




                                                            :                                        B
                              CM Case Cove: Sheet                                                                                                               C
                                                            .                                  Type of Action                                       Appilcabte Reasons'
                                    Category No.                                              (Check only one)                                       See Step 3 Above

                                     Auto (22)              0 A7100 Motor Vehicle Persons Injury/Property DamsgtWrongful Death
                                                                                       -
                                                                                                                                                    1.4, II
             St
            <I-              Uninsured Motorist (48)        0 A7110 Persona injury/Property Damageongful Death Uninsured Motorist
                                                                                                                           -                        1.4.11

                                                            o A5070 Asbestos Property Damage
                                  Asbestos (04)                                                                                                    1.11
                                                            o A7221 Asbestos- Personal InjuryorigfulDeath
                                                                                                                                                   1,11
                              Product Liablfily (24)        0 A7280 Product Liability (not asbestos or tot/environmental)
            0.                                                                                                                                     1,4, Ii

                            Medical Malpracfte (45)
                                                           o A7210 Medical Malpractice. Physicians & surgeons                                      1.4, II
            'S                                             o A7240 Other Professional Health Care Malpractice                                      1.4,11
                 121
            to
            C                                              o A7250 Premises Liability (e.g., slip and fat)
           0.                    oti,erPersonal                                                                                                    1,4, It
                                Injury Property            0 A7230 lrutemloneisodilylr4ury/PropenyoamagemralgM Death (e.g.,
                               Damage Wong$4                           assault, vandalism, etc.)                                                   1,4,11
                                  Death(23)
                                                           a A7270 Intentional Infliction of Emotional Distress                                   1,4,11
                                                           O A7220 Other Personal InjuryiPropertyDarnagevrongnj Death                             1,4, tl




          LASC CIV tag Rev.      twa                     CIVIL CASE COVER SHEET ADDENDUM
                                                                                                                                              LocalRule      2.3
          For Mandatory Use                                 AND STATEMENT OF LOCATION
                                                                                                                                                 Page 1 of 4




                                                                                     Exhibit A - 8
          Case 2:19-cv-06190 Document 1-1 Filed 07/18/19 Page 6 of 30 Page ID #:11




    a` 7    THE REGENTS OF THE UNIVERSITY OF CALIFORNIA VS.                                                    CASE
I   UNITEDHEALTIICARE MILITARY & VETERANS SERVICES, LIC
                                                                                                           I

                                   A                                                                B                                                CAppticatie
                         CMI Case Cover Sheet                                                 Type of Action                                   Reasons - See Step 3
                             Category No.                                                    (Check only one)                                            Above

                           Business Toil (07)               0 A6029 Other Cornme,claLlBuslness Toil (not fraud/breach of contract)             1.2,3

                            CM Rights (08)                  0 MOOS Civil RIgMs/Dlsthnlnatlon                                                   1,2, 3
      0.
     a.                     Defamation(13)                  0 A6010 Defamation (slander/libel)                                                 1,2,3

                              Fraud (16)                    0 A6013 Fraud (no contract)                                                        1,2,3

                                                            0 A2017 Legal Malpractice                                                          1.2,3
           ci     Professional Negligence (25)
                                                            0 A6050
                                                                OSO Other ProfeuionalMalpractice (not medical orlegal)                         1.2,3
     0                                                                                                                 -
     z
                              Other (35)                    0 A8025 Other Ncn'Penonal Ir4wy/Property Damage tort                               1,2, 3

                      Wrongful TerminatIon (36)            0 A6037 Wrongful Termination                                                       1,2, 3

                                                           0 A6024 Other Eni~oyrnent Complain Case                                            1,2,3
          •             Other Employment (l5)
                                                           0 ASIOS Labor Commissioner Appeals                                                 ID

                                                           E3 A6004 Breath of Renttease Contract (not unlawful detalner or wrongful
                                                                    eviction)                                                                 2.5
                 Breach of Contract!           mnty                                                                                           2.5
                                                           0 A8008 ContractM/arranty, Breath -Seller Plaintiff (no Fraud/negligence)
                            (not Insurance)                ci ASOIB NegllgentBreath ofContractflNarnnty (no fraud)                            1,2.5

                                                           o A5028 Other Breach of ContracbWarranly (not fraud or neglIgence)                 1,2,6


                                                           0 P.5002 Collections Case.seflerPialntltl                                          6,8.11
                  -        Collections (09)
      0                                                    o A6012 Other Promissory Note/Collections Case                                     5.11
                                                           0 MOM Cdectlons Case-Pwthaaed Debt (Charged Off Consumer Debt                      6,6,11
                                                                 Purchased on or after January 1. 2014)
                      InsursnceCovorage(18)               0 P.8015 Insurance Coverage (not complex)                                           1,2,5,8

                                                          o MOOS Contractual Fraud                                                            1,2,3,5
                         Other Contract (37)              0 P.6031 Toitious Interference                                                        2, 3,5
                                                          o P.6027 Other Contract Dlapute(not breachtnsurarice/fraud/negtgence)               1.2, 3,8,9

                      Eminent DomalNtmversa
                        Condemnation (t                   o P.7300 EmInentDomain/Condemnation
                                                                           Domain/Condemnation
                                                                                            on                 Number of parcels_____        2,6

                       Wrongful Eviction (33)             0 P.6023 Wrongful Eviction Case                                                    2. 6
                                                          0 P.5018 Mortgage Foreclosure                                                      2,6
     0
     °                Other Real Property (26)            0 A6032 Quiet Title                                                                2,5
                                                          o P.6060 Oilier Real Property (not eminent domain, landlord/tenant, foreclosure)   2,6

                Unlawful Delalner-Commercial
                                                          D P.602* Unlawful Deialner-comrnerrial (not drugs or wrongful eviction)            6,11
     Ig                        (31)
     a
                Unlawful Detalner-Residentlal
                               (321
                                                          0 P.6020 Unlawful Detainer-Residential (not drugs or wrongful eviction)            6.11
     2
                        Unlawful Detalner-
                      Post-Foreclosure (34)           -
                                                          0A8020FUnlaw4d0etalner-Posl.Foreciosure                                              8, 11
     o          Unlawful Detalner.Dnjgs(38)               0 ASOV UnlawfulOetainer.Oruga                                                      2,6,11



LASC CIVIOS Rev. ¶2)18
                                                  CIVIL CASE COVER SHEET ADDENDUM                                                        Local Rule 2.3
For Mandatory Use
                                                     AND STATEMENT OF LOCATION                                                               Page 2oF4




                                                                                 Exhibit A - 9
              Case 2:19-cv-06190 Document 1-1 Filed 07/18/19 Page 7 of 30 Page ID #:12




 I sltflt MM THE REGENTS OF                THE UNIVERSITY OF CALIFORNIA VS.                              I CASE p&,MaER     -


 I UNITEDHEALTI-ICARE MILITARY & VETERANS SERVICES, LLC
                                   A                                                             B                                      C Applicable
                        Civil Case Cover Sheet                                              Type of Action                           Reasons. See Step 3
                              Category No.                                                 (Check onty one)                                     Above

                         Asset Forfeiture (06)            0 P.6108 Asset Ferfeiture Case                                             2,3,6

                      Petition re Ntltraflon (II)         0 P.6115 PetItion to Coznpd/CenflrmNacateArt(frauon                        2.5

                                                          0 A6151 Writ AdmInistrative Mandamus
                                                                         -                                                          2.8
                         Writ of Mandate (02)            0 P.6152 Wilt Mandamus on Limited Court Case Mane,
                                                                         -
                                                                                                                                    2
          '0
                                                         U P.6153 Wilt' Other Uflted Court Case RevIew                              2

                      Other Judicial RevIew (39)         0 A8150 OtherWrlt /Judicial Review                                         2,8

                    MlarustfTnde Regulation (03)         0 P.6003 AntltlwtFTrade Regulation                                         1,2,8

                      Conalnialon Defect (10)            0 P.6007 Construction Defect                                               1,2, 3
          .3-
                     Cbus InvoMng Mass Tort
                                                         CI A6006 Claims Involving Mass Toil                                        I. 2.8
          -I                  (40)

                      Securities Litigation (28)         0 P.6035 Securities Litigation Case                                        1,2,8

                             TSc Tort                    U P.6036 ISo Tort/Environmental
          S     .        Environmental (30)                                                                                         1.2.3.0

                    Insurance Coverage Claims
                                                            P.8014 Insurance CoveregelSubrogetlon (complex case aft                 l, 2; 5,8
                      from Complex Case (41)

                                                         o P.8141 Sister State Judgment                                             2,5.11
                                                         O P.6160 Abstract of Judgment                                              2.6
      5I C
           E               Enforcement                  0 P.8107 Confession of Judgment (non-domestic relations)                 2.9
           Is
                         of Judgment (20)                0 P.6140 Administrative Agency Award (not unpaid taxes)                .2,8
           13                                           0 P.8114 PefftloNCertlflcate far Entry of Judgment on Unpaid TOO         2,8
                                                        o P.6112 Other Enforcement of Judgment Case                              2.8.9

                            RICO (27)                   0 P.6033 Racketeer" (RICO) Case                                          1, 2, 8

      o                                                 0 P.6030 Declaratory Relief Only                                         1,2.8

  '9                     Other Complaints
                    (Not Specified Above) (42)
                                                        0 P.8040 Injunctive Relief Only (not dorrtesticmarassment)
                                                        0 *6011 OtherCammerdalC =plaint Case(non-4ortMon.canptex)
                                                                                                                                 2.8
                                                                                                                                1,2.8
  S
                                                        0 P.6000 Other Civil Complaint (non-tortmon'carnplex)                   1.2.8

                     PartneslIp Corporation
                        Governance (21)             -   0 *6113 Partnership Ord Corporate Governance Case                       2.8

                                                        O P.8121 Civil Harassment With Damages                                  2,3,9
          2                                             Cl P.8123 Workplace Harassment With Damages                             2,3,9
                                                    0 P.6124 EldereDependent Adult Abuse Casa With Damages                      2,3,9
  -                    Other Petitions (Not
                      Specified Above) (43)         0 P.6190 Election Contest
                                                                                                                                2
  2 a                                               0 P.6110 Petition for Change of Name/Change of Gender
                                                                                                                                2.7
                                                    o P.8170 Petition for Relief from Late Claim Law
                                                                                                                                2,3,8
                                                    O *6100 Other Civil PetilJon
                                                                                                                            1 2.9




LASC CIV 109 Rev. 12/I8
                                                   CIVIL CASE COVER SHEET ADDENDUM                                         Local Rule 2.3
F or M andato.y Use
                                                      AND STATEMENT OF LOCATION                                                 Page 3014




                                                                              Exhibit A - 10
      Case 2:19-cv-06190 Document 1-1 Filed 07/18/19 Page 8 of 30 Page ID #:13




         THE REGENTS OF THE UNIVERSrrV OF CALIFORNIA                                  CASE MJM8EJ1
 UNITEDHEALTHCARE MILITARY & VETERANS SERVICES, LLC


Stop 4: Statement of Reason and Address: Check the appropriate boxes for the numbers shown under Column C for the
        type of action that you have selected. Enter the address which Is the basis for the filing location, Including zip code.
        (No address required for class action cases).

                                                                      AESS 757 Westwood Plaza
   REASON:

    C1.2.03.04.05.06.137. 08.0 9.010.011.



   CIV                                   STATE:      VP CODE:

   Los Angeles                           CA         90095

Stop 5: Certification of Assignment: I certify that this case is properly filed In the                               District of
        the Superior Court of California, County of Los Angeles (Code Civ. Proc., §392 at seq., and Local Rule 2.3(a)(1)(E)J.




  Dated: 5130/2019                                                                       QaQcL.
                                                                                 (SIGNAIU4T DANEVI9LING PARTY)
                                                                                             11


  PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY
  COMMENCE YOUR NEW COURT CASE:

          Original Complaint or Petition.

          If filing a Complaint, a completed Summons form for issuance by the Cloth.
          Civil Case Cover Sheet, Judicial Council form CM-010.

          Civil Case Cover Sheet Addendum and Statement of Location form, LACIV 109, LASC Approved 03-04 (Rev.
          02/16).

         Payment in full of the filing fee, unless there is court order for waiver, partial or scheduled payments.

         A signed order appointing the Guardian ad Litem, Judicial Council form CIV-010, if the plaintiff or petitioner Is
         minor under 16 years of age will be required by Court in order to issue a summons.

         Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this addendum
         must be served along with the summons and complaint, or other initiating pleading In the case.




                                     CIVIL CASE COVER SHEET ADDENDUM                                            Local Rule 2.3
LASC CIV 109 Rev. 12/18
                                            AND STATEMENT OF LOCATION                                             Page 4 of 4
For Mandalonj Use




                                                                Exhibit A - 11
                         Case 2:19-cv-06190 Document 1-1 Filed 07/18/19 Page 9 of 30 Page ID #:14
Electronically FILED by Superior Court of California. County of Los Angel es on 052912019 02:36 PM Sherd R. Carter. Executive Officer/Clerk of Court. by M. Mariscal, Deputy Clerk
                                                                                      195MCV00976

                -                      Assigned for all purposes to: Santa Monica Courthouse, Judicial Officer. Mark Young




                     1 LAW OFFICES OF STEPHENSON, ACQUISTO &
                     2 COLMAN, INC.
                       JOY STEPHENSON-LAWS, ESQ. (SBN 113755)
                     3 RICHARD A. LOVICH, ESQ. (SBN 113472)
                       KARLENE ROGERS-ABERMAN (SBN 237883)
                     4
                       DAVID F. MASTAN, ESQ. (SBN 152109)
                     5 MN FLEE PARK, ESQ. (SBN 30994 1)
                       303 N. Glenoaks Blvd., Suite 700
                     6
                       Burbank, CA 91502.
                     7 Telephone; (818) 559-4477                                                                             No Filing Fee Required
                       Facsimile: (818) 559-5484                                                                             Per Cal. Govt Code
                     8                                                                                                       § 6103
                     9 Attorneys for Plaintiff
                       THE REGENTS OF THE UNIVERSITY OF
                    10 CALIFORNIA, a California constitutional
                    11 corporation, on behalf of its UCLA Health System
                    12                                         SUPERIOR COURT OF CALIFORNIA
                    13                                       FOR THE COUNTY OF LOS ANGELES
                    14                                                 UNLIMITED JURISDICTION
                    15
                    16 THE REGENTS OF THE                        Case No.:
                       UNIVERSITY OF CALIFORNIA, a
                    17
                       California constitutional corporation, on COMPLAINT FOR DAMAGES FOR:
                    18 behalf of its UCLA Health System
                                                                 1.   BREACH OF WRITTEN
                    19                    Plaintiff,                  CONTRACT
                    20       vs.
                    21     UN1TEDHEALTHCARE MILITARY
                           VETERANS SERVICES, LLC and
                    22
                           DOES 1 THROUGH 25, INCLUSIVE
                    23
                    24                                     Defendants.
                    25
                    26
                    27
                    28
                                                                                                  1       COMPLAINT FOR UA
                                                                                              -
                                                                                                      -   WRITTEN CONTRACT




                                                                                      Exhibit A - 12
  Case 2:19-cv-06190 Document 1-1 Filed 07/18/19 Page 10 of 30 Page ID #:15




 I                                        PARTIES
 2
 3                     Plaintiff The Regents of the University of California (the
 4 "Regents") is a public trust corporation established and recognized pursuant to the
 5 Constitution of the State of California, Article 9, section 9, with full powers of
 6 organization and government. The Regents is authorized to administer various
 7 medical facilities within the University of California system, including the various
 8 components of UCLA Health System such as the Ronald Reagan UCLA Medical
 9 Center, the UCLA Medical Center, Santa Monica, the Resnick Neuropsychiatric
10 Hospital at UCLA, Mattel Children's Hospital UCLA, and the UCLA Medical
11 1 Group (all such components shall be collectively referred to as "UCLA Health")
12 (Regents and UCLA Health shall be collectively referred to as "UCLA Health").
13• UCLA Health has its principal place of operation in the City of Los Angeles,
14 County of Los Angeles, California. UCLA Health provides medical care to
15 patients.
16
17               2.Defendant UnitedHealthcare Military & Veterans Services,
18 LLC ("UMYS") was previously contracted with the Defense Health Agency
19 ("DMA") to administer the TRICARE West region program on behalf of DHA.
20 UMVS is organized and existing pursuant to the laws of the State of Delaware. It
21   has its principal place of business in the City of Minnetonka, County of Hennepin,
22 State of Minnesota.
23
24               3.     UCLA Health is unaware of the true names and capacities,
25 whether corporate, associate, individual, partnership or otherwise of defendants
26 Does 1 through 25, inclusive, and therefore sues such defendants by such fictitious
27 names. .UCLA Health will seek leave of the Court to amend this complaint to
28. allege their true names and capacities when ascertained.
                                            •            COMPLAINT FOR DAMAGES FOR: I. BREACH OF
     FC 19394                                   -
                                                    -    WRITTEN CONTRACT




                                        Exhibit A - 13
      Case 2:19-cv-06190 Document 1-1 Filed 07/18/19 Page 11 of 30 Page ID #:16
n




      I                      4.       UMVS and Does 1 through 25, inclusive, shall be collectively
     2 referred to as Ulv1VS.
     3
     4                       5.       Defendants, and each of them, at all relevant times, have
     5 11 transacted business in the State of California. The violations alleged within this
     6    complaint have been and are being carried out in the State of California.
     7
     8.                              At all relevant times each of the defendants, including the
     9    defendants named 'Do!," was and is the agent, employee, employer, joint
    10    venturer, representative, alter ego, subsidiary and/or partner of one or more of the
    11    other defendants, and was, in performing the acts complained of herein, acting
    12    within the scope of such agency, employment, joint venture, or partnership
    13    authority, and/or is in some other way responsible for the acts of one or more of th
    14 other defendants.
    15
    16                                COMMON FACTUAL BACKGROUND
    17
    18                               On various dates, UCLA Health provided medically necessary
    19    treatment, supplies and/or equipment- to the individuals identified on the
    20 spreadsheet attached as Exhibit A to this complaint (and which is incorporated
    21 here by this reference as though set forth in full) (collectively, the "Patients")'.
    22.
    23                               UCLA.Health is informed and believes and thereon alleges that
    24 at all relevant times the Patients were beneficiaries of a health plan sponsored,
    25    administered and/or funded by UMVS.
    26
          'In deference to the Patients' privacy concerns enumerated in Cal. Const. art. I, § I as well as the Health Insurance
    27    Portability and Accountability Act of 1996 (42 U.S.C. §5 1320d er seq.), UCLA Health omitted here information
          sufficient to reveal the identity of Patients.
    28
                                                                             COMPLAINT FOK DAD
             19384                                                -   3 -
                                                                             WRITrEN CONTRACT




                                                            Exhibit A - 14
     Case 2:19-cv-06190 Document 1-1 Filed 07/18/19 Page 12 of 30 Page ID #:17




  1                9.     The claims set forth in Exhibit A are subject to the Letter
  2 Agreement between UCLA Health and UMVS, on behalf of its Affiliates effectiv
  3 December 31, 2013 (the "Contract") and all relevant Amendments. Pursuant to th
  4 Contract, UCLA Health agreed to provide medically necessary services to various
  5, UMVS enrollees. In exchange, UMVS agreed to pay UCLA Health for the health
  6 care services rendered to those patients at the rates set forth in the Contract
  7 ("Contract Rates").                       -




 8
 9                10. At all relevant times, UMVS and/or its agents, authorized the
10 medical services rendered to Patients by UCLS Health.
11
12                11. UCLA Health timely and properly submitted the billed charges
13 to UMVS, for payment by UMVS at the Contracted Rates.
'4
15                12. The total billed charges for the medically necessary services,
16 supplies and/or equipment rendered to the Patients amounted to $1,351,830.23.
17
18                13. UMVS failed to fully pay the Contract Rates for the medically
19              services, supplies and/or equipment tendered to the Patients, despite
20             thereof.
21
22                14. As a direct and proximate result of UMVS's wrongful conduct,
23 UCLA Health has suffered damages in an amount to be proven at trial but not less
24 than the sum of $405,873.69, exclusive of interest.
25
26 I/I/I
27
28
       FC                                         -   A       COMPLAINT FOR DAN
                                                          -   WRITTEN CONTRACT




                                         Exhibit A - 15
 Case 2:19-cv-06190 Document 1-1 Filed 07/18/19 Page 13 of 30 Page ID #:18




 1                             FIRST CAUSE OF ACTION
 2                              (Breach of Written Contract)
 3                               (Against defendant tJIv1VS
 4                          and/or Does 1 through 25, inclusive)


 6                 15. UCLA Health incorporates by reference and re-alleges
 7 paragraphs 1 through 14 here as though set forth in full.
 8
 9                 16. As stated above, under the Contract, UCLA Health agreed to
10 provide medidally necessary services to UMVS' beneficiaries in exchange for
11   which UMVS agreed to pay the Contract Rates to UCLA Health pursuant to the
12 terms of the Contract.
13
14               17. UCLA Health provided medically necessary services to the
15   patients listed in Exhibit A and performed all conditions, covenants, and promises
16 required on its part to be performed in accordance with the terms and conditions of
17 the Contract.
18
19               18. UCLA Health demanded that UMVS perform its obligations to
20 properly reimburse UCLA Health at the Contract Rates for the medical services,
21 supplies and/or equipment rendered to Patients..
22
23               19. UMVS breached the Contract by failing to pay filly, much less
24   to timely pay UCLA Health the amount due under the Contract, without excuse.
25
26               20. As a result of the breaches by UMVS, UCLA Health suffered
27   damages in the sum of $405,873.69, the contractual amount due.
28
                                             -
                                                 ç       COMPLAINT Wit VAE
                                                     -   WRITTEN CONTRACT




                                       Exhibit A - 16
     Case 2:19-cv-06190 Document 1-1 Filed 07/18/19 Page 14 of 30 Page ID #:19




     1                            PRAYER FOR RELIEF
     2
 3 1 WHEREFORE, UCLA Health prays for judgment as follows:
 4
 5 I For the First Cause of Action:
 6
 7                1.    for the principal sum of $405,873.69;
 8
 9                2.    for interest on such principal sum at the rate of fifteen percent
10 (15%) per annum, pursuant to Cal. Health & Safety Code § 1371; or, in the
11 alternative, for interest on such principal sum at the rate of 10% per annum,
12 pursuant to Cal. Civ. Code § 3289;
13
14                3.    for all costs of suit incurred herein; and
15
16                4.   for such other and further relief as the Court deems just and
17 proper.
18
19 Dated: 29 May 2019
20
21                                             LAW OFFICES OF STEPHENSON,
                                                ACQUISTO & COLMAN, INC.
22
23
24                                                      flN HIEEPARK
25                                                        Attorneys for
                                            THE REGENTS OF THE UNIVERSITY
26                                              OF CALIFORNIA, a public trust
27                                           corporation, on behalf of UCLA Health
                                                             System
28
                                                         COMPLA1NT FOR DA
                                               "
                                                         WRITrEN CONTRACT




                                        Exhibit A - 17
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                EXHIBIT A

                                Exhibit A - 18
                  Case 2:19-cv-06190 Document 1-1 Filed 07/18/19 Page 16 of 30 Page ID #:21




UCLA MEDICAL CENTER




                                                    Exhibit I
FC 19384

No. Last Name First Name File Number Admit Date Discharge          Patient ID   Total           Total Paid Underpaid
                                                 Date'                          Charoec
  1W          3          000014532965 9/28/2016  11/15/2016        ***3302         $568,742.01    21,700.00 $215,399.77
  21          E          000014036885 5/27/2016  5/28/2016         ***6170          $38,140.72         0.00   $21,481.16
  3A          A          000014329714 8/24/2016  8/28/2016         ***4089         $180,284.45    14,847.46   $14,152.94
  4F          A          000015359836 5/28/2017  6/9/2017          ***8420         $182,450.48    52,940.93   $15,642.61
  so          3          000014998157 2/12/2017  2/28/2017         ***2443         $206,157.84    57,963.34   $63,545.64
— 61S        1A          000013223807 10115/2015 10/15/2015        ***7427          $19,496.19     5,584.44   $13,911.75
  7T          .1         000014650893 11/10/2016 11/15/2016        ***9045          $72,486.37    31,906.10   $21,396.56
  8T           L         000012741276 5/22/2015  5/22/2015         ***1215          $23,866.561    2,816.301   $5,181.33
  9W          S         1000014647124 11/22/2016 11/22/2016        ***1027          160,205.61     6,220.76   $35,161.93
       9 CLAIMS                                                                                TOTAL:        $405,873.69




Page 1 of I
                                                  Exhibit A - 19
Case 2:19-cv-06190 Document 1-1 Filed 07/18/19 Page 17 of 30 Page ID #:22




                        Unlimited Civil General Independent Calendar (IC)
                                        -




     Alternative Dispute Resolution (ADR) Information Packet (3/1/19)       2 pages
     Voluntary Efficient Litigation Stipulations (4/1/11)                   9 pages




                                            Exhibit A - 20
          Case 2:19-cv-06190 Document 1-1 Filed 07/18/19 Page 18 of 30 Page ID #:23




                            Superior Court of California, County of Los Angeles

                                                                            T.,.LP_r4c.r.a4       ...   at;.      -      -




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  CRO55-00MPLAINANTS mustse%TthlsADR lnformatron'Pkägióh4anñew4Øâflles named to the action
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What Is ADR?
ADR helps people find solutions to their legal disputes without going to trial. The main types of ADR are negotiation,
mediation, arbitration and settlement conferences. When AOR is done by phone or computer, it may be called Online
Dispute Resolution (ODR). These "alternatives" to litigation and trial are described below.


Advantages of ADR
   • Saves Time: ADR Is faster than going to trial.
   • Saves Money: Parties can save on court costs, attorney's fees and witness fees.
   • Keeps Control with the parties: Parties choose their ADR process and provider for voluntary ADR.
      •     Reduces stress/protects privacy: ADR is done outside the courtroom, in private offices, by phone or online.


Disadvantages of ADR
      •     Costs: If the parties do not resolve their dispute, they may have to pay for ADR and litigation and trial.
      •     No Public Trial: ADR does not provide a public trial or a decision by a judge or jury.

Main Types of ADR:
           Negotiation: Parties often talk with each other in person, or by phone or online about resolving their case with a
           settlement agreement instead of a trial. If the parties have lawyers; they will negotiate for their clients.

           Mediation: In mediation, a neutral "mediator" listens to each person's concerns, helps them evaluate the
           strengths and weaknesses of their case, and works with them to try to create a settlement agreement that is
           acceptable to all. Mediators do not decide the outcome. Parties may go to trial if they decide not to settle.

                      Mediation may be appropriate when the parties
                         • want to work out a solution but need help from a neutral person.
                         • have communication problems or strong emotions that interfere with resolution.
                      Mediation may not be appropriate when the parties                I
                         • want a public trial and want a judge or jury to decide the outcome.
                         • lack equal bargaining power or have a history of physical/emotional abuse.

                                                                                                                             LASCX
LAsc civ 271 NEW 03/19
For Mandatory Use
California Rules of court, rule 3.221




                                                           Exhibit A - 21
         Case 2:19-cv-06190 Document 1-1 Filed 07/18/19 Page 19 of 30 Page ID #:24




        Mediation for civil caies                                                                      Ishi Options Include:
                                                                                               ;
                        Theavil MS             nM'Resource 1.1St                              -   -1

                                              theiganitatIons_torequest'ayges11                        itMedIation" for reduced-cost or
                                              elected às9s)tned.ation In person'6wr                    R (1S phone or online).
                                                  '6                '   .              ....




                        • JAM5; lflCI                                                                   ffl:
                        • Medtbn'C                                              -




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                     visit WwwJc,j                                                            itfaffAs before contacting them.
                     NOTE: This s&v
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                             • Free           triarrnethSons-atthp courthoute forisrnafl elaimi, unlawful detainers (evictions)
                                and,                                                     ointment needed.                       I
                             • Free                                                      so and other case types.
                             • For(                                         -
                                                                                         ulde4lner (eviction) cases before the
                                                                                .--.
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                                II                  othntsm

                       Mediators bnd It             o&aniauoqs't                                       ay be found on the Internet.




            Arbitration: Arbitration is less formal than trial, but like trial, the parties present evidence and arguments to the
            person who decides the outcome. In "binding" arbitration, the arbitrator's decision is final; there is no right to
            trial. In "nonbinding" arbitration, any party can request a trial after the arbitrator's decision. For more
            information about arbitration, visit http://www.courts.ca.gov/programs-adr.htm

             Mandatory Settlement Conferences (MSC): MSCS are ordered by the Court and are often held close to the trial
            date. The parties and their attorneys meet with a judge or settlement officer who does not make a decision but
            assists the parties in evaluating the strengths and weaknesses of the case and In negotiating a settlement.
            For information about the Court's MSC programs for civil cases, visit: www.lacourt.org/division/civil/settlement




Los Angeles Superior Court ADR website: www.lacourt.org/divlsion/civil/settIement
For general information and videos about ADR, visit http://www.courts.ca.gov/prograrns-adr.htm




                                                                                                                                      LASC2
LAW CIV 271 NEW 03/19
For Mandatory Use
California Rules of Court, rule 3.221




                                                               Exhibit A - 22
Case 2:19-cv-06190 Document 1-1 Filed 07/18/19 Page 20 of 30 Page ID #:25




                                  VOLUNTARY EFFICIENT LITIGATION STIPULATIONS

      I
                                      The Early Organizational Meeting Stipulation, Discovery
                                  Resolution Stipulation, and Motions in Limine Stipulation are
   Superior Court of California
   County of Los Angeles          voluntary stipulations entered into by the parties. The parties
                                  may enter into one, two, or all three of the stipulations;
          £           •           however, they may not alter the stipulations as written,
                      S
                                  because the Court wants to ensure uniformity of application.
   Isp Angeles County
   Bar Association                These stipulations are meant to encourage cooperation
   Litigation Section
  Los Angeles County              between the parties and to assist in resolving issues in a
  Bar Association Labor and
  Employment Law Section          manner that promotes economic case resolution and judicial
                                  efficiency,

              -   -
                          •'
                                     The following organizations endorse the goal of
  Consumer Attorneys
  Association of Los Angeles
                                  promoting efficiency in litigation and ask that counsel
                                  consider using these • stipulations a a voluntary way to
                                  promote communications and procedures among counsel
                                  and with the court to fairly resolve issues in their cases.

                                  *Los Angeles County Bar Association Litigation Section*
  Southern California
  Defense Counsel
                                            • Los Angeles County Bar Association
                                                Labor and Employment Law Sectlon

  Association of
  8tirnnoes Thai Lawyers              *Consumer Attorneys AssoclaUon of Los Angeles


                                           *Southern California Defense Counsel*


                                          *Association of Business Trial Lawyers
     c-n--
       caAqL\4
 California Employment
 Lawyers AssocIation
                                       •california Employment Lawyers AsSociation

     L.ACIV 230 (NEW)
     LASC Approved 4'11
     For Optional Use




                                                   Exhibit A - 23
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                          NO.:                           FAX NO, (Optional):




                                                                                                 CASE
I              STIPULATION           —   EARLY ORGANIZATIONAL MEETING

         This stipulation is intended to encourage cooperation among the parties at an early stage in
         the litigation and to assist the parties in efficient case resolution.
         The parties agree that:

         1. The parties commit to conduct an initial conference (in-person or via teleconference or via
            videoconference) within 15 days from the date this stipulation is signed, to discuss and consider
            whether there can be agreement on the following:

                  Are motions to challenge the pleadings necessary? If the issue can be resolved by
                  amendment as of right, or if the Court would allow leave to amend, could an amended
                  complaint resolve most or all of the issues a demurrer might otherwise raise? If so, the parties
                  agree to work through pleading issues so that a demurrer need only raise issues they cannot
                  resolve, is the issue that the defendant seeks to raise amenable to resolution on demurrer, or
                  would some other type of motion be preferable? Could a voluntary targeted exchange of
                  documents or information by any party cure an uncertainty in the pleadings?

                 Initial mutual exchanges of documents at the "core of the litigation. (For example, in an
                 employment case, the employment records, personnel file and documents relating to the
                 conduct in question could be considered core? in a personal injury case, an incident or
                 police report, medical records, and repair or maintenance records could be considered
                  core.");

                 Exchange of names and contact information of witnesses;

                 Any insurance agreement that may be available to satisfy part or all of a judgment, or to
                 indemnify or reimburse for payments made to satisfy a judgment;

                 Exchange of any other information that might be helpful to facilitate understanding, handling,
                 or resolution of the case In a manner that preserves objectionsor privileges by agreement;

                 Controlling issues of law that, if resolved early, will promote efficiency and economy in other
                 phases of the case. Also, when and how such issues can be presented to the Court;

                 Whether or when the case should be scheduled with a settlement officer, what discovery or
                 court ruling on legal Issues is reasonably required to make sehiement discussions meaningful,
                 and whether the parties wish to use a sitting judge or a private mediator or other options as
       LACIV 229 (Rev 02/I S)
       LAsc Approved 04/I1            STIPULATION - EARLY ORGANIZATIONAL MEETING
       For options Use                                                                                                   Page 1     012




                                                             Exhibit A - 24
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                                                                                 CA   J14XR




              discussed in the "Alternative Dispute Resolution (ADR) Information Package" served with the
              complaint;

           Ii. Computation of damages, including documents, not privileged or protected from disclosure, on
                which such computation Is based;

           I. Whether the case is suitable for the Expedited Jury Trial procedures (see information at
               www.Iacourt org under tivif' and then under 'General /nfonñation").            -




              The time for a defending party to respond to a complaint or cross-complaint will be extended
              to                         for the complaint, and                            for the cross-
                          (INSERT DATE)                                    (IHCRT DATE)
              complaint, which Is comprised of the 30 days to respond unde Government Code § 68616(b),
              and the 30 days permitted by Code of Civil Procedure section 1054(a), good cause having
              been found by the Civil Supervising Judge due to the case management benefits provided by
              this Stipulation. A copy of the General Order can be found at www.lacourt.ora under "dv!!',
              click on "General Information", then click on gVoluntary Efficient Litigation Stipulations".

              The parties will prepare a Joint report titled "Joint Status Report Pursuant to initial Conference
              and Early Organizational Meeting Stipulation, and if desired, a proposed order summarizing
              results of their meet and confer and advising the Court of any way it may assist the parties'
              efficient conduct or resolution of the case. The parties shall attach the Joint Status Report to
              the Case Management Conference statement, and file the documents when the CMC
              statement is due.

              References to "days" mean calendar days, unless otherwise noted, lithe date for performing
              any act pursuant to this stipulation falls on a Saturday. Sunday or Court holiday, then the time
              for performing that act shall be extended to the next Court day..

   The following parties stipulate:
   Date:                                                                                                  -




                 (TYPE OR PRINT NAME)                                       (ATTORNEY FOR PLAINTIFF)
   Date:

                 (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
   Date:
                                                                 >
                (TYPE OR PRINT NAME)                                       (ATTORNEY FOR DEFENDANT)
   Date:

                (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
   Date:

                (TYPE OR PRINT NAME)                                 (ATTORNEY FOR
   Date:
                                                                 >
                (TYPE OR PRINT NAME)                                 (ATTORNEY FOR
  Date:

                (TYPE OR PRINT NAME)                                 (ATTORNEY FOR

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  LASC Approved 04/11          STIPULATION -EARLY ORGANIZATIONAL MEETING                               Page 2ot2




                                                Exhibit A - 25
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                     NO.:                         FAX NO. (Opticna:




               STIPULATION — DISCOVERY RESOLUTION

   This stipulation is intended to provide a fast and Informal resolution of discove
                                                                                     ry Issues
   through limited paperwork and an Informal conference with the Court
                                                                                 to aid in the
   resolution of the Issues.

   The parties agree that:

       Prior to the discovery cut-off in this action, no discovery motion shall be flied or heard
                                                                                                  unless
       the moving party first makes a written request for an Informal Discovery Conference
                                                                                                pursuant
       to the terms of this stipulation.

       At the informal Discovery Conference the Court will consider the dispute presented
                                                                                           by parties
       and determine whether it can be resolved informally. Nothing set forth herein will
                                                                                          preclude a
       party from making a record at the conclusion of an Informal Discovery Confere
                                                                                          nce, either
       orally or in writing.

      Following a reasonable and good faith attempt at an informal resolution of each
                                                                                      issue to be
      presented, a party may request an Informal Discovery Conference pursuant to the
                                                                                        following
      procedures:

            a. The party requesting the Informal Discovery Conference will:

                      File a Request for Informal Discovery Conference with the clerk's office on the
                      approved form (copy attached) and deliver a courtesy, conformed copy to the
                      assigned department;

                     Include a brief summary of the dispute and specify the relief requested; and

                     Serve the opposing party pursuant to any authorized or agreed method of service
                     that ensures that the opposing party receives the Request for Informal Discovery
                     Conference no later than the next court day following the filing.

           b. Any Answer to a Request for Informal Discovery Conference must:

                     Also be flied on the approved form (copy attached);

                     Include a brief summary of why the requested relief should be denied;
 LACIV 036 (new)
 LAsc Approved 04/I1                STIPULATION — DISCOVERY RESOLUTION
 For optional Use
                                                                                               Page I of 3




                                                      Exhibit A - 26
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                    Be filed within two (2) court days of receipt of the Request; and

                    Be served on the opposing party pursuant to any authorized or agreed upon
                    method of service that ensures that the opposing party receives the Answer no
                    later than the next court day following the filing.

             No other pleadings. Including but not limited to exhibits, declarations, or attachments, will
             be accepted.

             If the Court has not granted or denied the Request for Informal Discovery Conference
             within ten (10) days following the filing of the Request, then it shall be deemed to have
             been denied. If the Court acts on the Request, the parties will be notified whether the
             Request for Informal Discovery Conference has been granted or denied and, if granted,
             the date and time of the Informal Discovery Conference, which must be within twenty (20)
             days of the filing of the Request for Informal Discovery Conference.

             If the conference is not held within twenty (20) days of the filing of the Request for
             Informal Discovery Conference, unless extended by agreement of the parties and the
             Court, then the Request for the Informal Discovery Conference shall be deemed to have
             been denied at that time.

       If (a) the Court has denied a conference or (b) one of the time deadlines above has expired
       without the Court having acted or (c) the Informal Discovery Conference is concluded without
       resolving the dispute, then a party may file discovery motion to address unresolved issues.

       The parties hereby further agree that the time for making a motion to compel or other
       discovery motion is tolled from the date of filing of the Request for Informal Discovery
       Conference until (a) the request Is denied or deemed denied o (b) twenty (20) days after the
       filing of the Request for In    Discovery Conference, whichever is earlier, unless extended
       by Order of the Court.

       It is the understanding and intent of the parties that this stipulation shall, for each discovery
       dispute to which it applies, constitute a writing memorializing "specific later date to which
       the propounding [or demanding or reqUesting] party and the responding party have agreed in
       writing, within the meaning of Code Civil Procedure sections 2030.300(c), 2031.320(c), and
       2033.290(c).

       Nothing herein will preclude any party from applying ox paule for appropriate relief, including
       an order shortening time for a motion to be heard concerning discovery.

       Any party may terminate this stipulation by giving twenty-one (21) days notice of intent to
       terminate the stipulation.

       References to "days" mean calendar days, unless otherwise noted. If the date for performing
       any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
       for performing that act shall be extended to the next Court day.




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  Far opticnalUse                                                                               Page 2oI3




                                             Exhibit A - 27
Case 2:19-cv-06190 Document 1-1 Filed 07/18/19 Page 25 of 30 Page ID #:30




   The following parties stipulate:

   Date:
                                                              p.

                   (TYPE OR PRINT NAME)                                     (ATTORN EY FOR P(.A1NT1F9
  Date:
                                                              p.
                   (TYPE OR PAINT NAME)                                    (ATTORNEY FOR DEFENDANT)
  Date:

                   (TYPE OR PRINT NAME)                                    (ATTORNEY FOR DEFENDANT)
  Date:
                                                              p.
                   (TYPE OR PRINT NAME)                                    (ATTORNEY FOR DEFENDANT)
  Date:
                                                              p.

                   (TYPE OR PRINT NAME)                            (ATTORNEY FOR
  Date:

                   (TYPE OR PAINT NAME)                            (ATTORNEY FOR
  Date:
                                                              p.

                   (1 YPE OR PRINI NAME)                           (ATTORNEY FOR




L.ACIV 036 (new)
LAW Approved 04111                STIPULATION -DISCOVERY RESOLUTION
For Optional Use                                                                                        Page 3013




                                             Exhibit A - 28
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                     NO.                      FAX NO. (OpUona:




I           STIPULATION AND ORDER - MOTIONS IN LIMINE                       i                              I

      This stipulation Is Intended to provide fast and informal resolution of evidentlary
      Issues through diligent efforts to define and discuss such Issues and limit paperwork.


      The parties agree that:

          At least       days before the final status conference, each party will provide all other
          parties with a list containing a one paragraph explanation of each proposed motion in
          limine. Each one paragraph explanation must identify the substance of a single proposed
          motion in limine and the grounds for the proposed motion.

      2. The parties thereafter will meet and confer, either in person or via teleconference or
         videoconference, concerning all proposed motions in limine.. In that meet and confer, the
         parties will determine:

              Whether the parties can stipulate to any of the proposed motions. If the parties so
              stipulate, they may file a stipulation and proposed order with the Court.
              Whether any of the proposed motions can be briefed and submitted by means of a
              short joint statement of issues. For each motion which can be addressed by a short
              joint statement of issues, a short joint statement of issues must be filed with the Court
              10 days prior to the final status conference. Each side's portion of the short joint
              statement of issues may not exceed three pages. The parties will meet and confer to
              agree on a date and manner for exchanging the parties' respective portions of the
              short joint statement of issues and the process for filing the short joint statement of
              issues.
     3. All proposed motions in limine that are not either the subject of a stipulation or briefed via
         a short joint statement of issues will be briefed and filed in accordance with the California
         Rules of Court and the Los Angeles Superior Court Rules.




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                                                    Exhibit A - 29
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                                                                        CASf 4JMN0




   The following parties stipulate:
  Date:
                                                         01
                 (TYPE OR PAINT NAME)                              (ATTORNEY FOR PLAINTIFF)
  Date:

                 (TYPE OR PAINT NAME)                             (ATTORNEY FOR DEFENDANT)
  Date:
                                                         F.

                 (TYPE OR PRINT NAME)                             (ATTORNEY FOR DEFENDANT)
  Date:

                 (TYPE OR PAINT NAME)                             (ATroRNEY FOR DEFENDANT)
  Date:
                                                         F.

                 (TYPE OR PRINT NAME)                         (ATTORNEY FOR
  Date:
                                                         F.

                 (TYPE OR PRINT NAME)                         (A1TORt.EY FOR
  Date:
                                                         p

                 (TYPE OR PRINT NAME)                         (ATTORNEY FOR



  THE COURT SO ORDERS.

   Date:
                                                                        JUDICIAL OFFICER




 LASC Approved            STIPULATION AND ORDER - MOTIONS IN LIMiNE                        Page 2 of 2




                                        Exhibit A - 30
Case 2:19-cv-06190 Document 1-1 Filed 07/18/19 Page 28 of 30 Page ID #:33




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                                                                                               H
         TELEPHONE NO.:                              CM NO. (Optional):




                                                        CONFERENCE

        This document relates to:
                O        Request for Informal Discovery Conference
                El       Answer to Request for Informal Discovery Conference
        Deadline for Court to decide on Request                 --
                                                                                            (lns;rt dale 10 calendar days tollowulg filing of
        the Request).
        Deadline for Court to hold Informal Discovery Conference:                                                  (insert date 20 calendar
        days following riling of the Request).
       For a Request for Informal Discovery Conference, briefly describe the nature of the
       discovery dispute, including the facts and legal arguments at issue. For an Answer to
       Request for Informal Discovery Conference, briefly describe why the Court should deny
       the requested discovery, Including the facts and legal arguments at Issue.




  LACIV 094 (now)
  LASt Approved 04/11                   INFORMAL DISCOVERY CONFERENCE
  For Optional Use                (pursuant to the Discovery Resolution Stipulation of the parties)




                                                         Exhibit A - 31
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                                   INSTRUCTIONS FOR HANDLING UNLIMITED CIVIL CASES

The following critical provisions of the California Rules of Court, Title 3, Division 7, as applicable in the Superior Court, are summarized
for your assistance.                                                                                                                      -




APPLICATION
The Division 7 Rules were effective January I, 2007. They apply to all general civil cases.

PRIORITY OVER OTHER RULES
The Division 7 Rules shall have priority over all other Local Rules to the extent the others are inconsistent

CHALLENGE TO ASSIGNED JUDGE
A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all purposes
to a judge, or if a party has not yet appeared, within 15 days of the first appearance.

TIME STANDARDS
Cases assigned to the Independent Calendaring Courts will be subject to processing under the following time standards:

COMPLAINTS
All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days.

CROSS-COMPLAINTS
Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is filed. Cross-
complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the filing date.

STATUS CONFERENCE
A status conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the
complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,
trial date, and expert witnesses.

FINAL STATUS CONFERENCE
The Court will require the parties to attend a final status conference not more than Ia days before the scheduled trial date. All
parties shall have motions in limine, bifurcation motions, statements of major evidentiary, issues, dispositive motions, requested
 form jury instructions, special jury instructions, and special jury verdicts timely filed and served prior to the conference. These
matters may be heard and resolved at this conference. At least five days before this conference, counsel must also have exchanged
lists of exhibits and witnesses, and have submitted to the court a brief statement of the case to be read to the jury panel as required
by Chapter Three of the Los Angeles Superior Court Rules.

SANCTIONS
The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the
Court, and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party,
or if appropriate, on counsel for a party.                                             -




This is not a complete delineation of the Division 7 or Chapter Three Rules, and adherence only to the above provisions is
therefore not a guarantee against the Imposition of sanctions under Trial Court Delay Reduction. Careful reading and
compliance with the actual Chapter Rules is imperative.

Class Actions
Pursuant to Local Rule 2.3, all class actions shall be filed at the Stanley Mosk Courthouse and are randomly assigned to a complex
judge at the designated complex courthouse. If the case is found not to be a class action it will be returned to an Independent
Calendar Courtroom for all purposes.

*Provisionally Complex Cases
Cases filed as provisionally complex are initially assigned to the Supervising Judge of complex litigation for determination of
complex status. if the case is deemed to be complex within the meaning of California Rules of Court 3.400 et seq., it will be
randomly assigned to a complex judge at the designated complex courthouse. If the case is found not to be complex, it will be
returned to an independent Calendar Courtroom foi all purposes.




LACIV 190 (Rev 6/18)        NOTICE OF CASE ASSIGNMENT                            -   UNLIMITED CIVIL CASE
LASC Approved 05/06

                                                                Exhibit A - 32
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                       SUPERIOR COURT OF CALIFORNIA
                          COUNTY OF LOS ANGELES

   Santa Monica Courthouse                                                                                 FILED
                                                                                                   Stçatr Cant of California
   1725 Main Street, Santa Monica, CA 90401                                                         County of Los AngoIs
                                                                                                        05/29)2019
                       NOTICE OF CASE ASSIGNMENT                                             iniR Cat EzjheOI amtafCotr
                                                                                                       RsRbcal           mvAy
                          UNLIMITED CIVIL CASE


    Your case is assigned for all purposes to the judicial officer indicated below.   J 19SMCV00976

                            THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT

                 ASSIGNED JUDGE               DEPT ROOM                             ASSIGNED JUDGE             DEPT ROOM
     V     MarkA.Young                       M




    Given to the PlaintifflCross-Complainant/Attorney of Record    Sherri R. Carter, Executive Officer / Clerk of Court
    on 05/31/2019                                                             By Marcos Mariscat                      ,Deputy Clerk
                 (Date)
LACIV 190 (Roy 6/18)       NOTICE OF CASE ASSIGNMENT                          -   UNLIMITED CIVIL CASE
LASC Approved 05/06

                                                             Exhibit A - 33
